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IN THE UNITED STATES DISTRICT COURT

\j 1 ‘\ 7‘* `"“" FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISI()N

 

3-020V 1638L
§ .

 

 

 

 

 

 

 

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RUSHMORE FINANCIAL GROUP, INC.., §
GAYLE C. TINSLEY, JOHN A. VANN, DAVID C. §
DEMAS, JAMES M. FEHLEISON, W. THOMAS §
FRASER III, TIMOTHY J. GARDINER, & MAX R. §
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PLAINTIFFS’ ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:
COMES NOW Plaintiffs bringing this their Original Petition complaining cf

Defendants, and for causes cf action Would respectfully show the Court the following:

PLAINTIFFS` ORIGINAL PETITION - l

Case 3:02-cV-01638-L Document 1 Filed 08/02/02 Page 3 of 21 Page|D 3

I.

PARTIES AND JURISDICTION

PARTIE S

A. PlAINTIFFS

l. Mr. J im Glaza brings this claim individually. Mr. Glaza is a citizen of
the State ofColorado.

2. Mr. M.F. Long ll brings this claim individually Mr. Long is a citizen
of the State of Texas and resides in around the city of Dallas.

3. Mr. John H. Towers brings this claim individually Mr. Towers is a
citizen of the State of Texas and resides in around the city ofDallas.

4. Mr. Vic Seeber brings this claim individually Mr. Seeber is a citizen
of State of Oregon.

5. William EdWards III brings this claim individually Mr. Edwards III is
a citizen of the State of Texas and resides in around the city of Dallas.

6. Vicky Robinson brings this claim individually Ms. Robinson is a

citizen of the State of T exas and resides in and around the city of Dallas.

B. DEFENDANTS

l. Rushmore Financial Group lnc. is a financial services holding company

that is, inter alia, the parent company of a national broker-dealer and NASD member

PLAINTIFFS’ ORIGINAL PETITION - 2

Case 3:02-cV-01638-L Document 1 Filed 08/02/02 Page 4 of 21 Page|D 4

based in Dallas, TeXas. Defendant has its principal place of business in the state of Texas

and is located at.'

One Galleria Tower
Rushmore Financial Group
13355 Noel Drive, Suite 300
Dallas, Texas 76240
T 972-308-8811
F 972-364-4723

2. Messrs. Gayle C. Tinsley, John A. Vann, David C., Demas, James l\/I.
Fehleison, W. Thomas Fraser III, Timothy J. Gardiner, And Max R. Rutledge are
and Were at all relevant times, officers and directors of Respondent Rushmore
Financial Group. These defendants reside in or around the city of Dallas. Service of
process may be made on these defendants according to the laws of the State of Texas
by serving Mr. D.M. MOORE, JR., (a/k/a “Rusty” Moore) located at the address noted
immediately above Mr. Dewey Malone Moore, Jr. is identified by the Texas Secretary of

State as the agent of record for purposes of service ofprocess for all Defendants..

II.

JURISDICTION

l. The Court has diversity jurisdiction because the parties, including opposing
parties, are citizens of several states including Colorado and Texas. Furthermore, the
matter in controversy exceeds, exclusive of interest and costs, the sum specified by 28
U.S.C. § 1332. Notably, Defendant Rushmore Financial Group maintains its principal
place of business in the State of TeXas. Under 28 U.S.C. § 1332, § l44l, a corporation

shall be deemed a citizen in the state Where it has its principal place of business.

PLAINTIFFS’ ORIGINAL PETITION - 3

Case 3:02-cV-01638-L Document 1 Filed 08/02/02 Page 5 of 21 Page|D 5

III.

STATEMENT OF FACTS

l. Recently, Defendants unilaterally terminated Without prior notice or
indication, several of the registered representatives associated With Rushmore.
Notably, the gross commissions collectively produced by the terminated registered
representatives comprised approximately sixty percent (60%) of the gross revenues of
Rushmore.

2. Given the foregoing effect upon Rushmore’s cash-flow and the
consequent potential adverse affect upon their net capital requirements imposed
pursuant to industry regulation and federal legislation, and ability to remain in
business, all Defendants, particularly the directors of Rushmore, no doubt Were
cognizant of the catastrophic financial repercussions of their massive and unilateral
termination of their “producing” sales force.

3. Apparently already experiencing exigent financial circumstances and
since the lay-off, Defendants have vvrongfully Withheld compensation and contractual
obligations owed to the Plaintiffs. Despite repeated attempts by Plaintiffs to secure
receipt of their compensation and to compel Defendants to honor certain contractual
obligations, Defendants have and continue to decline to disburse the Plaintiffs’
compensation checks paid twice per month and established as a course-of-conduct

that Defendants have ratified and Plairitiffs have relied upon to their detriment

PLAINT[FFS’ ORIGINAL PETlTION - 4

Case 3:02-cV-01638-L Document 1 Filed 08/02/02 Page 6 of 21 Page|D 6

4. To summarize, Defendants contractually owe the Plaintiffs,

respectively, the following:

l. Claimant Glaza:
i. Compensation checks representing without limitation net
commission revenue generated of $40,000.00;
ii. Mutual fund, annuity and insurance “trailers” in the
amount of $l0,00().()() but continually increasing
2. Plaintiffs M. F. Long ll, William Edwards III. Vicky Robinson
i. Compensation checks representing without limitation net
commission revenue generated of $26,000.00;
ii. Mutual, annuity and insurance “trailers” of an
indeterminate amount but continually increasing
iii. Regarding Claimant Long, one-half the remaining
amount due pursuant to executed pay-out agreements arising from two arbitration
awards totaling $27,0()0. ln other words, the remainder due pursuant pay-out
agreement is 354,000 and thus, Defendants’ are obligated to pay one half of this
amount. specifically $27,000 [See Exhibit “B” enclosing Rushmore Financial
Group, Inc.’s asset purchase agreement, providing for assumption of one-half
liability for certain specific arbitration awards relating to certain registered
representatives]. . Significantly, in light of Defendants’ breach of this obligation

Claimant Longr seeks, in addition to legal relief the equitable remedy of the present

PLAlNTIFFS’ ORIGINAL PETITION - 5

Case 3:02-cV-01638-L Document 1 Filed 08/02/02 Page 7 of 21 Page|D 7

value of the outstanding balance owed by Defendants in connection with their
assumption of joint and several liability and contractual commitment to pay one half
of the periodic “pay-out's” associated with the referenced arbitration agreements

Claimant will respectfully request that the Panel issue an order mandating
immediate pay-out by Respondent Rushmore of the present value of the remaining
periodic payments it is contractually obligated to pay. Absent such relief Claimant
will be forced to make full and complete payments to honor arbitration awards that
given that that underlying award imposed joint and several liability upon Claimant
and an entity from which Respondent Rushmore purchased and pursuant to such
purchase agreement, agreed in writing to assume one half payment of such
outstanding arbitration awards

3. Claimant John H. Towers

 

i. Compensation checks representing without limitation net
commission revenue generated of $58,000;

ii. Mutual, annuity and insurance “trailers” of an
indeterminate amount but continually increasing

iii. One-half the remaining amount due pursuant to executed
pay-out agreements arising from two arbitration awards totaling $12,500. ln other
words, the remainder due pursuant pay-out agreement is $25,000 and thus.
Defendants’ are obligated to pay one half of this amount, specifically $12,500.
Significantly, in light of Defendants’ breach of this obligation, Claimant seeks, in
addition to legal relief the equitable remedy of the present value of the outstanding

balance owed by Defendants in connection with their assumption of joint and several

PLAINTIFFS’ ORIGINAL PETITION - 6

Case 3:02-cV-01638-L Document 1 Filed 08/02/02 Page 8 of 21 Page|D 8

liability and contractual commitment to pay one half of the periodic "pay-out's”
associated with the referenced arbitration agreements

Claimant will respectfully request that the Panel issue an order mandating
immediate pay-out by Respondent Rushmore of the present value of the remaining
periodic payments it is contractually obligated to pay. Absent such relief Claimant
will be forced to make full and complete payments to honor arbitration awards that
given that that underlying award imposed joint and several liability upon Claimant
and an entity from which Respondent Rushmore purchased and pursuant to such
purchase agreement, agreed in writing to assume one half payment of such
outstanding arbitration awards

4. Claimant Vic Seeber
i. Compensation checks representing without limitation net
commission revenue generated of $l3,00();
ii. Mutual fund, annuity and insurance “trailers” of an

indeterminate amount but continually increasing

5. Despite the foregoing, Plaintiffs in good faith collectively and
individually attempted to obtain their payment checks, following failure to receive
payment in the normal course of business ln response, they were advised by
Defendants’ in-house “yes-man”, compliance officer Tom Fincher, that Defendants`
maintained a “separate” policy for paying terminated associated registered
representatives that was distinct from their normal pay practice of issuing payment
checks twice per month. Upon further questioning and request for proof of

substantiating documentation, Respondent Fincher proffered additional` dilatory

PLAlNTlFFS’ ORlGlNAL PETITION - 7

Case 3:02-cV-01638-L Document 1 Filed 08/02/02 Page 9 of 21 Page|D 9

"double-talk”. Significantly, Plaintiffs’ contracts contain no provision enabling
Defendants to depart from their prior course of conduct in issuing payment checks
Moreover, because Defendants drafted the subject employment contract, principles of
contract construction and interpretation require that any ambiguities concerning the
contract be interpreted against the party responsible for drafting such document

6. Plaintiffs as anybody similarly situated would, need their due
compensation Compounding the failure of Defendants’ to issue their checks is the
fact that Plaintiffs are all self-employed small business-persons with responsibility to
provide for their own employees in addition to providing for their own families
Defendants’ misconduct has had a foreseeable adverse impact upon Plaintiffs’
business concerns and viability and constitutes tortious interference with business
relations Accordingly, Defendants are responsible for consequential damages
stemming from their misconduct

7. Plaintiffs and the undersigned counsel have information and belief that
Defendants are proactively attempting to sell the remaining assets of the Respondent
broker-dealer Rushmore. ln fact, the attached press release recently issued by
Respondent Rushmore and approved by Rushmore’s directors clearly indicates their
intention to liquidate the remaining assets of Rushmore. [See Exhibit “B”].

8. Ultimately, the “real story” giving rise to the instant case is that
Rushmore is desperately positioning the company to sell what it apparently considers
its “crown-jewel”: its on-line trading division and platform named RushTrade that
only generates about SS0,000.00 in monthly gross revenue and cannot even cover

Defendants’ fixed costs

PLAlNTIFFS’ ORIGINAL PETITION - 8

Case 3:02-cv-01638-L Document 1 Filed 08/02/02 Page 10 of 21 Page|D 10

9. Despite investing millions of dollars in this division, at the expense of
and to the detriment to its "cash-cow” and “core-business” of its traditional stock
brokerage division and associated sales force that had been generating SSO0,000.00
gross revenue monthly, Defendants have collectively decided to implement an “exit
strategy” impliedly acknowledging the mistake of “betting-the-ranch” upon
RushTrade. Apparently caught up in the hubris of the late l990’s day-trading and on-
line trading Wall-Street ethos, Defendants apparently believed that they could “sell”
this pipe-dream to investing America, notwithstanding that they lacked the financial
resources and were precariously subject to technological obsolescence vis-a-vis their
well capitalized competition such as E-Trade. [lndeed, following Defendants press
release that it was, circa 1999, establishing a proprietary on-line trading platform, its
NASDAQ-listed stock price rocketed from about $2 per share to $14 per share within
days

lO. Presumably, Defendants believed that they could persuade their then
current sales force to convert their clients to RushTrade, as Merrill Lynch has
unsuccessfully attempted to do. To the point, now having unilaterally terminated and
entered into an agreement to sell their remaining sales force, Defendants are stuck
with RushTrade and are moving as quickly to sell it before its technology becomes

leap-frogged by better capitalized industry competitors

ll. ln fact, to this end, Defendants have hired an lsraeli “consultant” who

has allegedly invested in RushTrade and aspires to purchase the platform for

PLAINTIFFS’ ORIGINAL PETlTION - 9

Case 3:02-cv-01638-L Document 1 Filed 08/02/02 Page 11 of 21 Page|D 11

purportedly $2,000,000.00 and integrate it into his California-based “school” that
instructs participants on how to “day-trade”.

12. Regardless of the merits or lack thereof of Defendants’ foray into on-
line trading, the fact remains that Plaintiffs first and foremost, among other former
and current corporate constituents are being forced to pay-the-price for Defendants
business errors to the extent that Defendants are wrongfully withholding in excess of
$lO(),OOO of compensation owed to Plaintiffs While the decision to enter and exit
any business of Defendants’ is necessarily approved by its respondent directors and
thus from a shareholder perspective, Defendants’ board is inoculated from liability
for its ineptitude, the Board is not and cannot escape liability for aiding and abetting
the foregoing alleged misconduct perpetrated upon Plaintiffs

l3. Without question, if the respondent directors were adhering to their
fiduciary duty to apprise themselves of the operations of respondent Rushmore, they
would no doubt know or have a duty to inquire and know, that Rushmore could not
stay afloat without wrongfully converting Plaintiffs’ compensation Consequently,
Plaintiffs categorically and unequivocally make clear that they are seeking a finding
from the Panel imposing individual, primary, joint and several liability against all
Defendants particularly including the respondent board members whose collective
complicity and duplicity cannot be denied and will be incontrovertibly established at

the final expedited hearing

PLAlNTIFFS’ ORIGINAL PETITION - lO

Case 3:02-cv-01638-L Document 1 Filed 08/02/02 Page 12 of 21 Page|D 12

l4.

VI.

LEGAL CLAIMS

The foregoing activity caused Plaintiffs damage Based upon such

facts the causes of action which Plaintiffs brings against Defendants include, but are

not limited to, the following:

(l) violations of the Texas Deceptive Trade Practices Act;
(2) ne gli gence/ gross ne gligence/breach of industry standards
(3) breach of contract;
(4) breach of duty, fiduciary and otherwise',
(5) common law fraud - misrepresentations and omissions;
fraud;and fraudulent concealment;
(6) respondeat superior;
(7) controlling person liability;
(8) aiding and abetting liability;
(9) agency liability - express & apparent authority;
(lO) unjust enrichment;
(l l) negligent infliction of emotional distress',
(l2) anticipatory breach of contract;
(l3) extortion & coercion; and
(l4) tortious interference with business relations
l. Violations of the Texas Deceptive Trade Practices Act

 

PLAINTIFFS’ ORIGINAL PETITION - ll

constructive

Case 3:02-cv-01638-L Document 1 Filed 08/02/02 Page 13 of 21 Page|D 13

15. Defendants violated the Texas Deceptive Trade Practices Act ('DTPA')
by providing "services" to Plaintiffs that included 'false, misleading or deceptive acts
or practices" as those terms are defined under DPTA § l 7.46(a), in that Defendants
made numerous material misstatements and omissions prescribed under DTPA §§
l7.26(b)(5), -(7) and -(23). Defendants' conduct was committed knowingly, thus
entitling Plaintiffs to three times their actual damages Plaintiffs also are entitled to
recover reasonable attorneys' fees upon successfully proving their DTPA claims
2. Negligence/Gross Negligence/Breach of Industrv Standards

16.. The industry standard of care is set forth by the rules of the NASD, the
NYSE, and the SEC; federal and state statutes including the Texas Securities Act and
the Penny Stock Reform Act; relevant case law; and the brokerage firms' own
compliance manuals Defendants are obligated to provide Plaintiffs and Plaintiffs are
entitled to rely upon Defendants for competent, professional securities services in
accordance with those industry rules regulations customs and practices By their
conduct as outlined above, Defendants failed to abide by many of these rules

including but not limited to the following:

(a) Article III, Section of the NASD Rules of Fair Practice ("High

Standards of Commercial Honor/Equitable Principles of Trade");

(b) Article lll, Section l8 of the NASD Rules of Fair Practice
("Manipulative, Deceptive or Fraudulent Devices or Contrivances").

(c) Rule 401 of the NYSE ("Good and Ethical Business Practices");

PLAlNTIFFS’ ORIGINAL PETITION - l2

Case 3:02-cv-01638-L Document 1 Filed 08/02/02 Page 14 of 21 Page|D 14

(d) Article III, Section 27 of the NASD Rules of Fair Practice and Rule
405 of the NYSE ("Supervision");

(e) The statutory citations referenced herein; and

(f) Breaches of the standards of conduct presumably set forth in

Defendants’ compliance manuals

l7. Plaintiffs asserts that Defendants' conduct was committed knowingly
and with the intention to deceive. In the alternative, however, Defendants acted with
reckless disregard for the rights and welfare of Plaintiffs and were grossly negligent
in failing to prevent the complained of conduct.
3. Breach of Contract

18. Defendants were obligated to provide Plaintiffs’ with compensation
payments including without limitation, commission payments and mutual fund
trailers and assumed liabilities arising from Defendants’ purchase of Dominion
lnstitutional Services and if applicable any related entities Such liabilities included
the contractual duty to assume joint and several liability for payment of arbitration
awards against certain Plaintiffs While such Plaintiffs have continued to pay their
half of such awards in the form of periodic payments Defendants have failed to make
their half of such payments pursuant to their contractually agreed upon duty.
4. Anticipatorv Breach of Contract

19. Defendants were obligated to provide Plaintiffs’ compensation
payments including without limitation, commission payments and mutual fund

trailers and assumed liabilities arising from Defendants’ purchase of Dominion

PLAINTIFFS’ ORIGINAL PETITION - 13

Case 3:02-cv-01638-L Document 1 Filed 08/02/02 Page 15 of 21 Page|D 15

Institutional Services and if applicable, any related entities Such liabilities included
the contractual duty to assume joint and several liability for payment of arbitration
awards against certain Plaintiffs While such Plaintiffs have continued to pay their
half of such awards in the form of periodic payments Defendants have failed to make
their half of such payments pursuant to their contractually agreed upon duty. To date.
Defendants continue to wrongfully withhold monies owed to Plaintiffs and to honor
their agreements concerning assumption of partial liability for certain outstanding

arbitration awards

5. Breach of Fiduciarv Dutv and Breach of Dutv
20. Defendants had a fiduciary duty to exercise the utmost good faith in

dealing with Plaintiffs including but not limited to the following:

(a) The duty to recommend a security only after studying it sufficiently to become
informed as to its nature, price and financial prognosis

(b) The duty to inform the customer of the risks involved in purchasing or selling

a particular security;

(c) The duty to refrain from self dealing;

(d) The duty not to misrepresent any fact material to the transaction; and

(e) The duty to act in the best interests of Plaintiffs

PLAINTIFFS’ ORIGINAL PE'I`ITION - l4

Case 3:02-cv-01638-L Document 1 Filed 08/02/02 Page 16 of 21 Page|D 16

6. Fraud

20. Defendants actions that Plaintiffs reasonably relied upon and have
suffered consequential damages thereby constitute fraudulent conduct that is
continuing
7. Respondeat Superior

2l. At all times Respondent and its employees agents were acting in the
course of their employment at Respondent Rushmore. lf the Panel finds that such
respondent Rushmore is liable to Plaintiffs for their wrongful conduct, then the
individual respondent agents officers and directors of Respondent Rushmore are
likewise liable under the doctrine of respondent superior (’let the master answer").

This doctrine also applies to the liability of all Respondent’s employees

8. Controlling Person Liability

22. Respondent Rushmore, is a controlling person as that term is defined in
l5 U.S.C. 78t(a) and Tex. Rev. Civ. Stat. Ann. Art. 581-33f. Respondent Rushmore
and its Respondent managers agents officers and directors directly or indirectly
controlled the subject Respondent. Similarly, Respondent Rushmore directly or
indirectly controlled the Respondent managers Accordingly, Respondent Rushmore
and the individual Defendants are liable jointly and severally to Plaintiffs for the losses

created by their wrongful conduct.

PLAINTIFFS’ ORIGINAL PETlTlON - 15

Case 3:02-cv-01638-L Document 1 Filed 08/02/02 Page 17 of 21 Page|D 17

9. Aiding and Abetting Liabilitv

23. Respondent Rushmore is liable as an aider and abettor of the securities
law violations of its agents pursuant to Tex. Rev. Civ. Stat. Ann. Art. 581-33(F)(2).
Respondent Rushmore and its managers agents officers and directors are likewise
liable as an aider and abettor of the violations of its principals These Defendants
substantially assisted in the wrongdoing through either overt acts omissions or
through their failure to supervise the persons assigned to execute various
responsibilities in connection with operating respondent Rushmore. This applies to
persons with both apparent and express authority to do so, including without

limitation, “consultants” retained by Defendants

lO. Failure to Supervise

23. Respondent Rushmore, intentionally, recklessly or negligently failed to
maintain and enforce a proper system of supervision and internal control over the
managers agents officers and directors officer under their tutelage. Such breach of
duty proximately caused damages to Plaintiffs for which Plaintiffs now seek to

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ll. Agencv Liabilitv - Express & Apparent Authoritv
24. During the time of the acts of Respondent and its the managers agents
officers and directors that harmed Plaintiffs each Respondent had actual and apparent

authority to represent the other. The performance of any and all such acts by

PLAlNTlFFS’ ORIGINAL PETITION - 16

Case 3:02-cv-01638-L Document 1 Filed O8/O2/O2 Page 18 of 21 Page|D 18

Respondent’s agents and principals caused damages to Plaintiffs Accordingly, under
agency-law, they are all liable for each other’s misconduct
l2. Unjust Enrichment

25. Through their wrongful acts and self-dealing, Defendants were unjustly
enriched by their wrongful receipt and retention of profits commissions mark-ups
mark-downs fees and/or spreads and fund trailers Furthermore, by failing to honor
their contractual commitment to pay half of several outstanding arbitration awards
Defendants have avoided liabilities that certain Plaintiffs must now fully be

responsible for.

l3. Negligent Infiiction of Emotional Distress

26. Defendants’ wrongful acts and breaches of duty directly and
proximately caused Plaintiffs to experience emotional distress with manifestations
including without limitation: generalized anxiety, difficulty sleeping, cardiovascular
irregularities and overall fear during a time that should otherwise be his “golden
years”.
l4. Promissorv Estoppel, Detrimental Reliance, Waiver and Ratification

27. Defendants by virtue of their course of conduct and through its
managers agents officers and directors concerning adherence to prior regular
issuance of payment checks and payment of their half of certain arbitration awards

“unilaterally Waived” their right to rescind or abrogate such agreements

PLAlNTIFFS’ ORIGINAL PETlTION - l7

Case 3:02-cv-01638-L Document 1 Filed O8/O2/O2 Page 19 of 21 Page|D 19

28. Moreover, Defendants by their course of conduct “ratified” the
practice of providing Plaintiffs with regular compensation checks and payment of
their share of certain arbitration awards and as such, are promissorily estopped (see
contract doctrine of estoppel) from unilaterally violating such agreements because
Plaintiffs have relied to their detriment by expecting Defendants’ to continue to honor
their contractual and ethical duties
15. Extortion & Coercion:

29. Defendants by and thru their authorize agents have attempted to
compel thru economic duress Plaintiffs to execute contracts verbal and otherwise,
substantially waiving and relinquishing their legal rights in connection with this
matter. ln other words Defendants have attempted several times to cause Plaintiffs to
accept much less money under unacceptable terms and conditions than they are
legally entitled to immediately
l6. Tortious Interf`erence With Business Relations.

30. ln addition to the foregoing alleged facts Respondents have cause and
continue to cause Claimants, most of whom are self-employed business persons
pecuniary damage Respondents have also engaged in wrongful conduct, including
without limitation, refusing to execute “block-transfers” and substantially precluded
Plaintiffs during certain relevant times from contacting and executing securities

transactions on behalf of their client.

VII.

PLAINTIFFS’ ORIGINAL PETITION - 18

Case 3:02-cv-01638-L Document 1 Filed 08/02/02 Page 20 of 21 Page|D 20

DEMAND FOR RELIEF

31. Based upon the foregoing Plaintiffs demands judgment against the
Defendants jointly and severally and in an amount in excess of their actual losses
Plaintiffs further request a iurv trial.

32. As a direct and proximate result of the wrongful conduct of Defendants
as described above, Plaintiffs have been compelled to retain the undersigned counsel
to protect their rights and to pay him a reasonable fee for his services which
Plaintiffs seek to recover herein pursuant to Section 38.001 of the Tex. Civ. Prac. &
Rem. Code, the Tex. Bus. & Comm. Code Section 27.01, the DTPA, and other
applicable law.

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33. Plaintiffs request that the Panel award them pre-judgment and post-

judgment interest at the maximum rate allowed by law.
Bt_s

34. Plaintiffs requests that the Court award them their costs and expenses

of pursuing this arbitration claim, including without limitation, attorney fees expert

witness fees and filing fees

PLAINTIFFS’ ORIGINAL PETITION - 19

Case 3:02-cv-01638-L Document 1 Filed 08/02/02 Page 21 of 21 Page|D 21

PLAINTIFFS’ ORIGINAL PETITION - 20

Respectfully submitted,
THE LAW OFFICE OF JAMES R. MARLEN
BY:

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